                                                                                                    Case 6:10-bk-03756-KSJ           Doc 8         Filed 03/11/10     Page 1 of 4
                                                                     B8 (Official Form 8) (12/08)
                                                                                                                         United States Bankruptcy Court
                                                                                                                           Middle District of Florida

                                                                     IN RE:                                                                                         Case No. 6:10-bk-3756-KSJ
                                                                     Braxton, Earl Jr. & Braxton, Valerie A                                                         Chapter 7
                                                                                                                  Debtor(s)

                                                                                        AMENDED CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                     PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
                                                                     estate. Attach additional pages if necessary.)
                                                                      Property No. 1
                                                                      Creditor’s Name:                                                       Describe Property Securing Debt:
                                                                      AHMSI- American Home Mortgage Servicing                                1119 12th St W
                                                                      Property will be (check one):
                                                                         9Surrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                                (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
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                                                                          Claimed as exempt           9Not claimed as exempt
                                                                      Property No. 2 (if necessary)
                                                                      Creditor’s Name:                                                       Describe Property Securing Debt:
                                                                      Bank Of America                                                        2038/2040 Long Street
                                                                      Property will be (check one):
                                                                          Surrendered        9
                                                                                            Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                         9  Other. Explain Retain and pay pursuant to contract                            (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt           9Not claimed as exempt
                                                                     PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                                                                     additional pages if necessary.)
                                                                      Property No. 1
                                                                      Lessor’s Name:                                      Describe Leased Property:                    Lease will be assumed pursuant to
                                                                      ERA Tom Grizzard Inc.                               Rental Lease                                 11 U.S.C. § 365(p)(2):
                                                                                                                                                                          Yes   9 No

                                                                      Property No. 2 (if necessary)
                                                                      Lessor’s Name:                                      Describe Leased Property:                    Lease will be assumed pursuant to
                                                                                                                                                                       11 U.S.C. § 365(p)(2):
                                                                                                                                                                          Yes     No
                                                                        3 continuation sheets attached (if any)
                                                                     I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
                                                                     personal property subject to an unexpired lease.

                                                                     Date:          March 11, 2010
                                                                                                                       Signature of Debtor

                                                                                                                       Signature of Joint Debtor
                                                                                                    Case 6:10-bk-03756-KSJ           Doc 8   Filed 03/11/10      Page 2 of 4
                                                                     B8 (Official Form 8) (12/08)

                                                                                        AMENDED CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                               (Continuation Sheet)

                                                                     PART A – Continuation
                                                                      Property No. 3
                                                                      Creditor’s Name:                                                   Describe Property Securing Debt:
                                                                      Bank Of America                                                    1001 Bernice Road
                                                                      Property will be (check one):
                                                                          Surrendered        9
                                                                                            Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                         9  Other. Explain Retain and pay pursuant to contract                       (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt           9Not claimed as exempt
                                                                      Property No. 4
                                                                      Creditor’s Name:                                                   Describe Property Securing Debt:
                                                                      Bruce & Mary Moncrief                                              1216 W 13th Street
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                                                                      Property will be (check one):
                                                                         9Surrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                           (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt           9Not claimed as exempt
                                                                      Property No. 5
                                                                      Creditor’s Name:                                                   Describe Property Securing Debt:
                                                                      Cenlar Central Loan                                                929 Mozart Drive
                                                                      Property will be (check one):
                                                                          Surrendered        9
                                                                                            Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                         9  Other. Explain Retain and pay pursuant to contract                       (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                         9Claimed as exempt             Not claimed as exempt


                                                                     PART B – Continuation
                                                                      Property No.
                                                                      Lessor’s Name:                                    Describe Leased Property:                 Lease will be assumed pursuant to
                                                                                                                                                                  11 U.S.C. § 365(p)(2):
                                                                                                                                                                     Yes     No

                                                                      Property No.
                                                                      Lessor’s Name:                                    Describe Leased Property:                 Lease will be assumed pursuant to
                                                                                                                                                                  11 U.S.C. § 365(p)(2):
                                                                                                                                                                     Yes     No

                                                                     Continuation sheet        1 of     3
                                                                                                    Case 6:10-bk-03756-KSJ           Doc 8   Filed 03/11/10      Page 3 of 4
                                                                     B8 (Official Form 8) (12/08)

                                                                                        AMENDED CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                               (Continuation Sheet)

                                                                     PART A – Continuation
                                                                      Property No. 6
                                                                      Creditor’s Name:                                                   Describe Property Securing Debt:
                                                                      Chase Home Finance                                                 440 Cinnamon Drive
                                                                      Property will be (check one):
                                                                         9Surrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                           (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt           9Not claimed as exempt
                                                                      Property No. 7
                                                                      Creditor’s Name:                                                   Describe Property Securing Debt:
                                                                      Chase Home Finance                                                 2630 NE 15th Avenue
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                                                                      Property will be (check one):
                                                                         9Surrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                           (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt           9Not claimed as exempt
                                                                      Property No. 8
                                                                      Creditor’s Name:                                                   Describe Property Securing Debt:
                                                                      Fairwinds Credit Union                                             2008 Nissan Armada
                                                                      Property will be (check one):
                                                                          Surrendered        9
                                                                                            Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                         9  Reaffirm the debt
                                                                            Other. Explain                                                           (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                         9Claimed as exempt             Not claimed as exempt


                                                                     PART B – Continuation
                                                                      Property No.
                                                                      Lessor’s Name:                                    Describe Leased Property:                 Lease will be assumed pursuant to
                                                                                                                                                                  11 U.S.C. § 365(p)(2):
                                                                                                                                                                     Yes     No

                                                                      Property No.
                                                                      Lessor’s Name:                                    Describe Leased Property:                 Lease will be assumed pursuant to
                                                                                                                                                                  11 U.S.C. § 365(p)(2):
                                                                                                                                                                     Yes     No

                                                                     Continuation sheet        2 of     3
                                                                                                    Case 6:10-bk-03756-KSJ           Doc 8   Filed 03/11/10      Page 4 of 4
                                                                     B8 (Official Form 8) (12/08)

                                                                                        AMENDED CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                               (Continuation Sheet)

                                                                     PART A – Continuation
                                                                      Property No. 9
                                                                      Creditor’s Name:                                                   Describe Property Securing Debt:
                                                                      GMAC Mortgage                                                      2630 NE 15th Avenue
                                                                      Property will be (check one):
                                                                         9Surrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                           (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt           9Not claimed as exempt
                                                                      Property No. 10
                                                                      Creditor’s Name:                                                   Describe Property Securing Debt:
                                                                      H & R Block                                                        1835 S Rio Grande Avenue
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                                                                      Property will be (check one):
                                                                         9Surrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                           (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt           9Not claimed as exempt
                                                                      Property No. 11
                                                                      Creditor’s Name:                                                   Describe Property Securing Debt:
                                                                      Wachovia Bank, N/A                                                 27535 Lois Drive
                                                                      Property will be (check one):
                                                                         9Surrendered       Retained
                                                                      If retaining the property, I intend to (check at least one):
                                                                            Redeem the property
                                                                            Reaffirm the debt
                                                                            Other. Explain                                                           (for example, avoid lien using 11 U.S.C. § 522(f)).
                                                                      Property is (check one):
                                                                          Claimed as exempt           9Not claimed as exempt
                                                                     PART B – Continuation
                                                                      Property No.
                                                                      Lessor’s Name:                                    Describe Leased Property:                 Lease will be assumed pursuant to
                                                                                                                                                                  11 U.S.C. § 365(p)(2):
                                                                                                                                                                     Yes     No

                                                                      Property No.
                                                                      Lessor’s Name:                                    Describe Leased Property:                 Lease will be assumed pursuant to
                                                                                                                                                                  11 U.S.C. § 365(p)(2):
                                                                                                                                                                     Yes     No

                                                                     Continuation sheet        3 of     3
